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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 23-3190                                                September Term, 2023
                                                                     1:23-cr-00257-TSC-1
                                                       Filed On: January 23, 2024
United States of America,

             Appellee

      v.

Donald J. Trump,

             Appellant


      BEFORE:       Millett, Pillard, and Garcia, Circuit Judges

                                        ORDER

       Upon consideration of pro se movant Treniss Jewell Evans, III’s motion for leave
to extend the time for filing an amicus curiae brief in support of appellant's appeal on
the merits; motion for leave to file a brief as amicus curiae in support of appellant's
appeal on the merits and the lodged brief; and motion for leave to file a hard copy brief,
it is

       ORDERED that the motion for leave to extend the time for filing an amicus
curiae brief be denied. The Clerk is directed to note the docket accordingly. It is

       FURTHER ORDERED that the motion for leave to file a brief as amicus curiae in
support of appellant's appeal on the merits and the motion for leave to file a hard copy
brief be dismissed as moot.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk
